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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 211414)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYB.com, MYK@LNBYB.com, KJM@LNBYB.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                               SAN FERNANDO VALLEY DIVISION

10
10    In re:                                           Lead Case No.: 1:17-bk-12408-MB
                                                       Jointly administered with:
11
11    IRONCLAD PERFORMANCE WEAR                        1:17-bk-12409-MB
      CORPORATION, a California corporation,
12
12
                                                       Chapter 11 Cases
13
13            Debtor and Debtor in Possession.
      ____________________________________             DECLARATION OF MONICA Y. KIM
14
14    In re:                                           IN    SUPPORT        OF   DEBTORS’
                                                       EMERGENCY MOTION FOR ENTRY
15
15    IRONCLAD PERFORMANCE WEAR                        OF AN INTERIM ORDER: (I)
16    CORPORATION, a Nevada corporation,               AUTHORIZING THE DEBTORS TO
16
                                                       (A)     OBTAIN        POSTPETITION
17
17             Debtor and Debtor in Possession.        FINANCING PURSUANT TO 11
      ____________________________________             U.S.C. §§ 105, 361, 362 AND 364, AND
18
18                                                     (B) UTILIZE CASH COLLATERAL
         Affects both Debtors                          PURSUANT TO 11 U.S.C. §§ 361, 362,
19
19                                                     363 AND 364; (II) GRANTING
20      Affects Ironclad Performance Wear              ADEQUATE                PROTECTION
20
      Corporation, a California corporation only       PURSUANT TO 11 U.S.C. §§ 361, 362,
21
21                                                     363 AND 364; (III) SCHEDULING A
        Affects Ironclad Performance Wear              FINAL HEARING PURSUANT TO
22
22    Corporation, a Nevada corporation only           BANKRUPTCY RULES 4001(b) AND
                                                       4001(c); AND (IV) GRANTING
23
23                                                     RELATED RELIEF
24
24
                                                       DATE:     September 13, 2017
25
25                                                     TIME:     2:00 p.m.
                                                       PLACE:    Courtroom “303”
26
26                                                               21041 Burbank Blvd.
                                                                 Woodland Hills, CA
27
27
28
28


                                                   1
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 11          I, Monica Y. Kim, hereby declare as follows:

 22          1.      I have personal knowledge of the facts set forth herein, and, if called as a witness,

 33   could and would testify competently with respect thereto.

 44          2.      I am a member of Levene, Neale, Bender, Yoo & Brill L.L.P., proposed

 55   bankruptcy counsel to Ironclad Performance Wear Corporation, a California corporation

 66   (“Ironclad California”) and Ironclad Performance Wear Corporation, a Nevada corporation

 77   (“Ironclad Nevada” and with Ironclad California, the “Debtors” or “Ironclad”). The Debtors

 88   each filed a Voluntary Petition for relief under Chapter 11 of the Bankruptcy Code on September

 99   1, 2017 (“Petition Date”).
10
10           3.      On or about August 29, 2017, I obtained certified searches of recorded UCC-1
11
11    financing statements from the California Secretary of State (attached hereto as Exhibit A) and
12
12    Nevada Secretary of State (attached hereto as Exhibit B). As set forth therein, the only active
13
13    and valid UCC-1 financing statements existing as of the Petition Date are as follows:
14
14                California Secretary of State:
15
15                UCC-1 filed by Capital One (document number 14-7441632305) recorded December
16
16                18, 2014 as to substantially all assets of Ironclad California, assigned to Radians by
17
17                UCC-3 (document number 62925880003).
18
18                Nevada Secretary of State:
19
19                UCC-1 filed by Capital One (document number 2014031733-1) recorded December
20
20                12, 2014 as to substantially all assets of Ironclad Nevada, assigned to Radians by
21
21                UCC-3 (document number 2017020461-7)
22
22           I declare under penalty of perjury that the foregoing is true and correct.
23
23           Executed this 11th day of September 2017 at Los Angeles, California.
24
24
                                                           /s/ Monica Y. Kim
25
25                                                         MONICA Y. KIM
26
26
27
27
28
28


                                                       2
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                          EXHIBIT “A”
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                          EXHIBIT “B”
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 1
                                   PROOF OF SERVICE OF DOCUMENT
 2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
 3
     A true and correct copy of the foregoing document entitled DECLARATION OF MONICA Y. KIM IN
 4   SUPPORT OF DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN INTERIM ORDER: (I)
     AUTHORIZING THE DEBTORS TO (A) OBTAIN POSTPETITION FINANCING PURSUANT TO 11
 5   U.S.C. §§ 105, 361, 362 AND 364, AND (B) UTILIZE CASH COLLATERAL PURSUANT TO 11 U.S.C.
     §§ 361, 362, 363 AND 364; (II) GRANTING ADEQUATE PROTECTION PURSUANT TO 11 U.S.C. §§
 6   361, 362, 363 AND 364; (III) SCHEDULING A FINAL HEARING PURSUANT TO BANKRUPTCY
     RULES 4001(b) AND 4001(c); AND (IV) GRANTING RELATED RELIEF will be served or was served
 7   (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
     stated below:
 8
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 9   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On September 11, 2017, I checked the CM/ECF docket for this bankruptcy
10   case or adversary proceeding and determined that the following persons are on the Electronic Mail
     Notice List to receive NEF transmission at the email addresses stated below:
11
              Ron Bender rb@lnbyb.com
12            S Margaux Ross margaux.ross@usdoj.gov
              United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
13            Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

14   2. SERVED BY UNITED STATES MAIL: On September 11, 2017, I served the following persons
     and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
15   true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
     and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
16   completed no later than 24 hours after the document is filed.

17                                                                           Service information continued on attached page

18   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
     EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
     on September 11, 2017, I served the following persons and/or entities by personal delivery, overnight
19   mail service, or (for those who consented in writing to such service method), by facsimile transmission
     and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
20   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
21   Served via Attorney Service
     Hon. Martin R. Barash
22   United States Bankruptcy Court
     21041 Burbank Boulevard, Suite 342
23   Woodland Hills, CA 91367
24                                                                            Service List served by Overnight Mail attached
25   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
     true and correct.
26
      September 11, 2017                    Stephanie Reichert                          /s/ Stephanie Reichert
27    Date                                  Type Name                                   Signature
28

      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Served by Overnight Mail:

  Ironclad Performance Wear (8300)     United States Trustee                  U. S. Securities and Exchange
  OUST, Secured & Top 20               915 Wilshire Blvd., Suite 1850         Commission
                                       Los Angeles, California 90017          Attn: Bankruptcy Counsel
                                                                              444 South Flower Street, Suite 900
                                                                              Los Angeles, CA 90071-9591

  Secured Creditor                     Counsel to Radians Wareham Holdings    Counsel to Radians Wareham Holdings
  Radians Wareham Holding, Inc.        E. Franklin Childress, Jr.             Sharon Z. Weiss
  Attn: Mike Tutor, CEO                Baker, Donelson, Bearman, Caldwell &   Bryan Cave
  5305 Distriplex Farms                Berkowitz, PC                          120 Broadway, Suite 300
  Memphis, TN 38141                    165 Madison Ave, Suite 2000            Santa Monica, CA 90401
                                       Memphis, Tennessee 38103



  Top 20 Unsecured Creditors:



  Advantage Media Services, Inc.       Danny Negara                           Eliza Yang
  Attn: Steven Helmle                  Mercindo Global Manufaktur             Nantong Changbang Gloves Co.
  29010 Commerce Center Drive          Jl. Raya Semarang-Bawen Km.29          Flat/RM 1602 Chit Lee Comm
  Valencia, CA 91355                   SEemerang, Central Java                Bldg 30-36, Shau Kei Wan Road
                                       50661, Indonesia                       Hong Kong, China

  Gerard                               Kwong                                  Mark Robba
  BDO USA, LLP                         PT JJ GLOVES INDO                      PT SPORT GLOVE INDONESIA
  P. O. BOX 677973                     JL Ronggowarsito, Mlese, Ceper         Krandon Desa Pandowoharjo
  Dallas, TX 75267-7973                Bonded Zone, Klaten                    Sleman
                                       Central Java, Indonesia, 57463         Yogyakarta, Indonesia, 55512

  Daniel Gomes                         Brent Waters                           Skadden Arps Slate Meagher & Flom
  Capital One Bank                     Resources Global Professionals         LLP
  P. O. BOX 1917                       P.O. Box 740909                        P O Box 1764
  Merrifield, VA 22116-1917            Los Angeles, CA 90074-0909             White Plains, NY 10602


  Carol Pearson                        Risk Consulting Partners               Robert Tejeda
  FedEx                                24722 Network Place                    Stubbs, Alderton & Markiles, LLP
  PO Box 7221                          Chicago, IL 60673-1247                 15260 Ventura Blvd
  Pasadena, CA 91109-7321                                                     20th Floor
                                                                              Sherman Oaks, CA 91403

  Ms. Vicz Yue                         Shur-Sales & Marketing, Inc.           John Calhoun
  Ka Hung Glove Inustrial Co. Ltd.     3830 S Windermere St.                  Synetra
  Fujian Quanzhou Jiacheng Leather     Englewood, CO 80110                    1110 E. State Highway 114
  Chi Feng Road, Quanzhou City                                                Suite 200
  Fujian, 362000, China                                                       Southlake, TX 76092


  Sky Lin                              Carla Durand                           Bradley J. S. Weiss
  Marusan - Mimasu Tshusho Co. Ltd.    University of Milwaukee                Winspeed Sports Shanghai Co., Ltd.
  No 1 Queen' Road Central             P O Box 500                            858 Mingzhu Road
  Hong Kong                            University of Wisconsin - Milwaukee    Shanghai
  China                                Milwaukee, WI 53201                    China, 00020-1702

  Janice Lee                           Liliana Dominguez                      1920 Hutton Court
  Woneel Midas Leathers                Yellow and Roadway                     Attn: Johnny Clark
  Jl Gembor Raya Desa Pasirjaya        P. O. Box 100129                       Inwood National Bank
  Tangerang                            Pasadena, CA 91355                     P O Box 857413
  Banten, Indonesia, 15135                                                    Richardson, TX 75085
